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UNITED STATES DISTRICT COURT MIDDLE
DISTRICT OF ALABAMA EASTERN,DWISION r*-
                                                        X
                                                   ;
DONALD JONES,et al,
                                         n HArIiiTtr
                                              T             FIED CIVIL RIGHTS
                                               T i T .COMPLAINT PURSUANT TO
                        v.                            42 U.S.C.-1983 AND A BIVENS
                                                      ACTION

ROBERT WILKIE, Secretary of the United States
Department of Veterans Affairs, DAVID SHULKIN,
Secretary of the United States Department of Veterans
                                                            Civil Claim No:a.lq          aco- wKLo
Affairs, LINDA BOYLE, Medical Center Director for           Claim ofUnconstitutionally
CAVHCS, CLYDE W. MARSH, State Commissioner
and Director of the Alabama Department of Veterans
Affairs, JACQUELYNN LEWIS, Non VA Medical                        JURY DEMAND
Care Chief, SHARON HICKS, Non VA Community
                                                                 CLASS ACTION
Care, CYNTHIA BLAND,VHA Office of Community
                                                                   (IN PART)
Care, JANE CAMELLIA, CAVHCS Nurse, JOHN
DOE (1), Birmingham VA Medical Center clerk,
LEWIS A. UWAGERIKPE, Veterans Healthcare
Provider, RANDALL WEAVER, MD, TERRY
ANDRUS,President and CEO of EAMC,DAVII) G.
FAGAN, Chief of Staff at EAMC, JAMES ROBERT
COBB, Emergency Room Medical Doctor at EAMC,
EAST ALABAMA MEDICAL CENTER, Lanier,
JANE DOE (2), EAMC business office clerk, LINDA
LYND, Medical Director of Emergency Physicians,
JOHN DOE (3), a veteran's hospital employee, JOHN
DOE (4), Wisconsin Evidence Intake Center Regional
Office Director, JOHN DOE (5), an employee at the
Wisconsin Evidence Intake Center, JOHN DOE (1-
99), Employees,JANE DOE(1-99), Employees,

                                Defendants.
                                                    X


I.     Introduction


       1.     This is an action pursuant to Bivens v. Six Unknown Named Agents ofthe



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Federal Bureau of Narcotics, 403 US 388(1971), the Civil Rights Act of 1871,42 U.S.C.

§ 1983, and 28 U.S.C. § 1343 (a)(1),(2),(3), & (4), and the Federal Torts Claim Act

(FTCA), which seeks redress for deprivation of guaranteed constitutional and statutory

rights. Plaintiff also seeks declaratory and injunctive relief. Venue is proper in the

Federal District Court in and for the Middle District of Alabama,Eastern Division, as the

acts complained of herein originated in Chambers and Macon Counties.



II.      Jutisdiction


         2.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 2201, for violation of Constitutional Rights, as provided for in Bivens v. Six

Unknown Named Agents of the Federal Bureau of Narcotics, 403 US 388 (1971);

jurisdiction pursuant to 28 U.S.C. §§ 1343(a)(1),(2),(3)&(4), and 2201 for violation of

Constitutional Rights, as provided for in 42 U.S.C. § 1983, and jurisdiction pursuant to

28 U.S.C. § 1346 (b) for violations as provided for under the Federal Torts Claim Act.

Plaintiff seeks monetary damages, declaratory, and injunctive relief, as well as attorney

fees and costs pursuant to 42 U.S.C.§ 1988 and 28 U.S.C. § 2678.

         3.    Plaintiff seeks redress for violations of his constitutional rights to due

process of law, as defined under the Fifth and Fourteenth Amendments to the United

States Constitution; violation of his constitutional right prohibiting cruel and unusual

punishment, as defined under the Eighth Amendment to the United States Constitution;

violation of his constitutional right to court access, as defined under the First Amendment

to the United States Constitution, and retaliation for exercising his right to petition the



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government for redress of grievances; violation of federal law, as defined under the

Emergency Medical Treatment and Active Labor Act of 1986; violation of federal laws,

as defmed under the Veterans Access, Choice, Accountability Act(VACAA)of 2014,

and the VA Mission Act of2018; violation ofthe equal protection clause contained in the

Fourteenth Amendment to the United States Constitution; violation of his right to the

pursuit of happiness under the Alabama Constitution; and violation of federal law, as

defined under the Whistle Blowers Act of 1989. Plaintiff seeks further redress, pursuant

to a class action suit, regarding the unconstitutional enactment and illegal enforcement of

Titles 38 CFR § 17.1002(d), and 38 U.S.C.§ 1725(b)(2)(B), which mandate that disabled

veterans under the sole financial and medical care of the Department of Veterans Affairs

see a veteran's doctor once every two years. This unconstitutional law prevents disabled

veterans from receiving medical treatment by overtaxing and burdening veteran hospitals

and healthcare providers with patients who do not need medical attention. Moreover,the

Department of Veterans Affairs is using this unconstitutional enactment illegally to incite

hospital personnel to dump their patients in the street before they receive self-sustaining

emergency room treatment. Finally, it is discriminatory in nature and conflicts with other

federal laws, such as the Veterans Access, Choice, Accountability Act (VACAA) of

2014, and the VA Mission Act of 2018. Veterans in these federal programs do not legally

qualify to have the VA pay for their emergency room treatment because their care comes

from a doctor in the private sector, and not a veteran's healthcare provider as mandated

under the letter ofthe law.




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III.   Identity of the Parties


       4.      Plaintiff, DONALD JONES,Pro Se, is a veteran who is totally dependant

upon the Department of Veterans Affairs for his financial and healthcare needs, and

resides in the city of Lanett, Chambers County Alabama.

       5.      Defendant, ROBERT WILKIE, was at all times relevant to the allegations

contained in this complaint, Secretary of the United States Department of Veterans

Affairs. President Trump nominated Robert Wilkie to serve as the Secretary of the

United States Department of Veterans Affairs in May 2018 and the Senate confirmed his

nomination on July 23, 2018. He was sworn in on July 30, 2018. Robert Wilkie also

served as Acting Secretary ofthe Department of Veterans Affairs from March 28,2018 to

May 29, 2018. In those positions, he was responsible for the overall management and

supervision of all federal and state Department of Veterans Affairs, and its hospitals and

personnel, and was acting within the nature and scope of his duties as Secretary of the

United States Department of Veterans Affairs; at all times, for the purpose of this

complaint, Defendant is being sued in both, his individual and official capacities.

       6.      At all times relevant to the allegations contained herein, ROBERT

WILKIE, as Secretary of the United States Department of Veterans Affairs, acted under

color offederal and state laws, regulations, customs and policies, whether legal or illegal.

       7.      Defendant, DAVID SHULKIN, was at all times relevant to the allegations

contained in this complaint, Secretary of the United States Department of Veterans

Affairs. Defendant SHULKIN was the Secretary of the United States Department of

Veterans Affairs from February 14, 2017 to March 28, 2018. President Trump allegedly


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fired Defendant SHULK1N in the latter part of March 2018 for misappropriation of

federal funding and his failure to provide veterans with proper healthcare. During those

times, he was responsible for the overall management and supervision of all federal and

state Department of Veterans Affairs, and its hospitals and personnel, and was acting

within the nature and scope of his duties as Secretary of the United States Department of

Veterans Affairs; at all times, for the purpose of this complaint, Defendant is being sued

in both, his individual and official capacities.

       8.      At all times relevant to the allegations contained herein, DAVID

SHULKIN,as Secretary of the United States Department of Veterans Affairs, acted under

color offederal and state laws, regulations, customs and policies, whether legal or illegal.

       9.      Defendant, LINDA BOYLE, was at all times relevant to the allegations

contained in this complaint, Medical Center Director for the CAVHCS. The Secretary of

the Department of Veterans Affairs designated her as Medical Center Director in the

latter part of 2016. In that position, she was the senior member of the leadership team for

the CAVHCS and was responsible for the overall administrative and clinical operations.

She also supervised 1600 healthcare employees, and was acting within the nature and

scope of her duties as Medical Center Director for the CAVHCS; at all times, for the

purpose of this complaint, Defendant is being sued in both, her individual and official

capacities.

        10.    At all times relevant to the allegations contained herein, LINDA BOYLE,

as Medical Center Director for the CAVHCS,acted under color offederal and state laws,

regulations, customs and policies, whether legal or illegal.

        11.    Defendant, CLYDE W. MARSH, was at all times relevant to the

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allegations contained in this complaint, State Commissioner and Director of the Alabama

Department of Veteran Affairs. He was the State Commissioner and Director of the

Alabama Department of Veteran Affairs from October 2005 to November 2018. In that

position, he was responsible for all administrative and executive duties of the Alabama

Department of Veterans Affairs. In addition, he managed the agency's operations,

coordinated mission execution and supervised 112 state employees in 67 counties, as well

as over 900 contract health service providers. He also managed an agency budget of over

$100 million, and was acting within the nature and scope of his duties as State

Commissioner and Director of the Alabama Department of Veterans Affairs; at all times,

for the purpose of this complaint, Defendant is being sued in both, his individual and

official capacities.

        12.     At all times relevant to the allegations contained herein, CLYDE W.

MARSH, as State Commissioner and Director of the Alabama Department of Veteran's

Affairs, acted under color of federal and state laws, regulations, customs and policies,

whether legal or illegal.

        13.     Defendant, JACQUELYNN LEWIS, was at all times relevant to the

allegations contained in this complaint, Non VA Medical Care Chief. She has been an

employee of the CAVHCS for at least seven years, and maintains an office at the

CAVHCS in Tuskegee Alabama. In that position, she was responsible for the overall

management and supervision of Non VA Medical Care personnel. In addition, she was to

assist veterans with Non VA Medical Care treatment, including placement in the Choice

Program, and was acting within the nature and scope of her duties as Non VA Medical

Care Chief; at all times, for the purpose of this complaint, Defendant is being sued in

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both, her individual and official capacities.

        14.    At ail times relevant to the allegations contained herein, JACQUELYNN

LEWIS, as Non VA Medical Care Chief, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

       15.     Defendant, SHARON HICKS, was at all times relevant to the allegations

contained in this complaint, Non VA Community Care. In that position, she was

responsible for the overall management and supervision of Non VA Community Care

personnel. In addition, she was responsible for processing medical claims for services

rendered in Non VA Medical Care facilities and private doctors, and was acting within

the nature and scope of her duties as Non VA Community Care; at all times, for the

purpose of this complaint, Defendant is being sued in both, her individual and official

capacities.

       16.     At all times relevant to the allegations contained herein, SHARON

HICKS, as Non VA Community Care, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

        17.    Defendant, CYNTHIA BLAND,was at all times relevant to the allegations

contained in this complaint, VHA Office of Community Care. In that position, she was

responsible for assisting veterans in receiving timely healthcare, including assisting

veterans in being placed in Non VA Community Care Programs. In addition, she was

responsible for the overall management and supervision of VHA Office of Community

Care personnel, and was acting within the nature and scope of her duties as VHA Office

of Community Care; at all times, for the purpose of this complaint, Defendant is being

sued in both, her individual and official capacities.

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        18.     At all times relevant to the allegations contained herein, CYNTHIA

BLAND,as VHA Office of Community Care, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

        19.     Defendant, JANE CAMELLIA, was at all times relevant to the allegations

contained in this complaint, a CAVHCS nurse. In that position, she was responsible for

supervising patient care and treatment, as well as approving or denying Non VA

emergency room visits, and was acting within the nature and scope of her duties as a

nurse; at all times, for the purpose of this complaint, Defendant is being sued in both, her

individual and official capacities.

        20.     At all times relevant to the allegations contained herein, JANE

CAMELLIA, as a veteran's hospital nurse, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

        21.     Defendant, JOHN DOE (1), was at all times relevant to the allegations

contained in this complaint, a Birmingham VA Medical Center clerk. In that position, he

was responsible for carrying out various clerical duties for the Birmingham VA Medical

Center, and was acting within the nature and scope of his duties as a clerk; at all times,

for the purpose of this complaint, Defendant is being sued in both, his individual and

official capacities.

        22.     At all times relevant to the allegations contained herein, JOHN DOE (1),

as a Birmingham VA Medical Center clerk, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

        23.     Defendant, LEWIS A. UWAGERIKPE, was at all times relevant to the

allegations contained in this complaint, a primary care veteran's doctor. In that position,

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he was responsible for prescribing treatment and medication to veterans at the CAVHCS,

and was acting within the nature and scope of his duties as a primary care veteran's

doctor; at all times, for the purpose ofthis complaint, Defendant is being sued in both, his

individual and official capacities.

       24.     At all times relevant to the allegations contained herein, LEWIS A.

UWAGER1KPE,as a primary care veteran's doctor, acted under color offederal and state

laws, regulations, customs and policies, whether legal or illegal.

       25.     Defendant, RANDALL WEAVER, MD, was at all times relevant to the

allegations contained in this complaint, a CAVHCS medical doctor. In that position, he

was a supervising medical doctor responsible for overseeing the scheduling of primary

care appointments, and was acting within the nature and scope of his duties as a medical

doctor; at all times,for the purpose ofthis complaint, Defendant is being sued in both, his

individual and official capacities.

       26.     At all times relevant to the allegations contained herein, RANDALL

WEAVER, as a CAVHCS medical doctor, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

       27.     Defendant, TERRY ANDRUS, was at all times relevant to the allegations

contained in this complaint, President and CEO of EAMC. In that position, he was

responsible for the overall management and supervision of personnel at the East Alabama

Medical Center, and was acting within the nature and scope of his duties as President and

CEO ofEAMC;at a11 times, for the purpose ofthis complaint, Defendant is being sued in

both, his individual and official capacities.

       28.     At a11 times relevant to the allegations contained herein, TERRY

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ANDRUS, as President and CEO of EAMC,acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

       29.     Defendant, DAVID G. FAGAN,was at all times relevant to the allegations

contained in this complaint, Chief of Staff at EAMC. In that position, he was responsible

for the direct supervision of personnel at East Alabama Medical Center, and was acting

within the nature and scope of his duties as Chief of Staff; at all times, for the purpose of

this complaint, Defendant is being sued in both, his individual and official capacities.

       30.     At all times relevant to the allegations contained herein, DAVID G.

FAGAN, as Chief of Staff at EAMC, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

       31.     Defendant, JAMES ROBERT COBB, was at all times relevant to the

allegations contained in this complaint, an emergency room medical doctor at EAMC. In

that position, he was responsible for evaluating and treating patients admitted to the

hospital emergency room, and was acting within the nature and scope of his duties as an

emergency room physician; at all times, for the purpose of this complaint, Defendant is

being sued in both, his individual and official capacities.

       32.     At all times relevant to the allegations contained herein, JAMES ROBERT

COBB,as an emergency room medical doctor, acted under color offederal and state laws,

regulations, customs and policies, whether legal or illegal.

       33.     Defendant, EAST ALABAMA. MEDICAL CENTER, Lanier, was at all

times relevant to the allegations contained in this complaint a government owned and

operated not-for-profit primary care hospital. As an acute primary care hospital, it is a

healthcare and emergency room facility, under the direct supervision and management of

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Defendant Andrus, and was operating as a primary care and emergency room facility; at

all times,for the purpose ofthis complaint, Defendant is being sued in its official capacity

only.

        34.    At all times relevant to the allegations contained herein, EAST

ALABAMA MEDICAL CENTER, Lanier, acted under color of federal and state laws,

regulations, customs and policies, whether legal or illegal.

        35.    Defendant, JANE DOE (2), was at all times relevant to the allegations

contained in this complaint, an EAMC business office clerk. In that position, she was

responsible for canying out various clerical duties, and was acting within the nature and

scope of her duties as a clerk; at all times, for the purpose ofthis complaint, Defendant is

being sued in both, her individual and official capacities.

        36.    At all times relevant to the allegations contained herein, JANE DOE (2),

as an EAMC business office clerk acted under color offederal and state laws, regulations,

customs and policies, whether legal or illegal.

        37.    Defendant, LINDA LYND, was at all times relevant to the allegations

contained in this complaint, Medical Director of Emergency Physicians for EAMC. In

that position, she was responsible for overseeing and supervising emergency room

personnel. In addition, she was responsible for investigating complaints involving

emergency room treatment, and was acting within the nature and scope of her duties as

Medical Director of Emergency Physicians; at all times, for the purpose ofthis complaint,

Defendant is being sued in both, her individual and official capacities.

        38.   'At all times relevant to the allegations contained herein, LINDA LYND,as

Medical Director of Ernergency Physicians for EAMC, acted under color of federal and

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state laws, regulations, customs and policies, whether legal or illegal.

       39.     Defendant, JOHN DOE (3), was at all times relevant to the allegations

contained in this complaint, a CAVHCS employee. In that position, he was responsible

for carrying out various duties, and was acting within the nature and scope of his duties as

an employee; at all times, for the purpose of this complaint, Defendant is being sued in

both, his individual and official capacities.

       40.     At all tirnes relevant to the allegations contained herein, JOHN DOE (3),

as a CAVHCS employee, acted under color offederal and state laws, regulations, customs

and policies, whether legal or illegal.

       41.     Defendant, JOHN DOE (4), was at all times relevant to the allegations

contained in this complaint, Wisconsin Evidence Intake Center Regional Office Director.

In that position, he was responsible for the overall management and operation of the

Wisconsin Evidence Intake Center and was acting within the nature and scope of his

duties as Regional Office Director; at all times, for the purpose of this complaint,

Defendant is being sued in both, his individual and official capacities.

       42.     At all times relevant to the allegations contained herein, JOHN DOE (4),

as Wisconsin Evidence Intake Center Regional Office Director, acted under color of

federal and state laws, regulations, customs and policies, whether legal or illegal.

       43.     Defendant, JOHN DOE (5), was at all times relevant to the allegations

contained in this complaint, an employee at the Wisconsin Evidence Intake Center. In

that position, he was responsible for investigating disability compensation claims and was

acting within the nature and scope of his duties as an employee of the Wisconsin

Evidence Intake Center; at all times,for the purpose ofthis complaint, Defendant is being

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sued in both, his individual and official capacities.

       44.     At all times relevant to the allegations contained herein, JOHN DOE (5),

as an employee ofthe Wisconsin Evidence Intake Center, acted under color offederal and

state laws, regulations, customs and policies, whether legal or idlegal.

       45.     Defendants, JOHN DOE (1-99), were at all times relevant to the

allegations contained in this complaint, employees of either the EAMC or the Department

of Veterans Affairs. In those positions, they were responsible for carrying out various

duties, and were acting within the nature and scope of their duties as employees; at all

times, for the purpose of this complaint, Defendants are being sued in both, their

individual and official capacities.

       46.     At all times relevant to the allegations contained herein, JOHN DOE (1-

99), as employees ofthe EAMC or the Department of Veterans Affairs, acted under color

offederal and state laws, regulations, customs and policies, whether legal or illegal.

       47.     Defendants, JANE DOE (1-99), were at all times relevant to the

allegations contained in this complaint, employees of either the EAMC or the Department

of Veterans Affairs. In those positions, they were responsible for carrying out various

duties, and were acting within the nature and scope of their duties as employees; at all

times, for the purpose of this complaint, Defendants are being sued in both, their

individual and official capacities.

       48.     At all times relevant to the allegations contained herein, JANE DOE (1-

99), as employees ofthe EAMC or the Department of Veterans Affairs, acted under color

offederal and state laws, regulations, customs and policies, whether legal or illegal.



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IV.    Facts


       49.     On April 10, 2017, Plaintiff felt weak in the knees, had severe dry mouth,

excessive urination, a general lack of energy, dizziness, and blurred vision. Plaintiff's

condition had existed in varying degrees for nearly 5 months.

       50.     Plaintiff called the CAVHCS in Tuskegee, but was unable to speak with a

doctor. It is the policy of the Department of Veterans Affairs(VA)that veterans not call

the hospital for pre-approval ofemergency room treatment.

       51.     Aware that he could not speak to a doctor, Plaintiff followed the

instructions given by the hospital automated medical advisory system and went to the

nearest emergency room. At no time did the automated medical advisory system inform

Plaintiffthat he would have to Ny for his emergency room treatment.

       52.     Absent there being a statement in the automated medical advisory system

informing Plaintiff that he would be responsible for his emergency room treatment, there

would be no reason for Plaintiff to believe that the Veterans Administration would make

him pay for his emergency room visit.

       53.     Plaintiff was enrolled in the veteran's healthcare program, he lived more

than 40 miles from the nearest veteran's hospital, he was eligible to participate in the

Veterans Choice Program, he was supported solely by a small veteran's pension, and he

was suffering from a serious medical condition making it dangerous for him to drive to

the CAVHCS in Tuskegee Alabama. Plaintiff had no other recourse but to seek

emergency room treatment.

       54.     Plaintiff submits that the automated medical advisory system authorized


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his emergency room treatment, as if a veteran's doctor had approved it thereby

overriding the 24-month statutory requirements set forth in 38 U.S.C. § 1725 and 38

U.S.C.§ 17.10002(d).

       55.    As directed by the automated medical advisory system, Plaintiff drove

approximately one mile to the Lanett Fire Station where an EMT first examined him.

Plaintiff was diagnosed with hypertension and hyperglycemia. Plaintiff's blood pressure

was 220/100 and his glucose lever was 499 mg/dl.

       56.    After being advised that he should seek immediate medical attention for

his elevated blood sugar and blood pressure readings, Plaintiff drove another three miles

to the East Alabama Medical Center in Valley Alabama.

       57.    As Plaintiff was filling out the paperwork for emergency room treatment,

he informed the admittance clerk to send the emergency room bill to the CAVHCS in

Tuskegee for payment. Instead of following Plaintiff's instructions, Defendant Doe (2)

called Defendant Camellia for approval ofPlaintifrs emergency room treatment.

       58.    Defendant Camellia denied the request of Defendant Doe (2) to pay the

hospital bill because Plaintiff had no authorization for the treatment and had not seen a

veteran's doctor during the previous 24 months. Plaintiff admits that he never used his

VA medical benefits after being placed on a non-service related veteran's pension nearly

ten years ago because he did not need medical attention.

       59.    Defendant Camellia had no authorization to make any such determination.

It was the responsibility ofDefendant Lewis, Non VA Medical Care Chiefto investigate

and to make any such denial.

       60.    Plaintiff was admitted to the emergency room on April 10,2017.

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       61.     Defendant Cobb was the emergency room attending physician. Defendant

Cobb confirmed the diagnoses of the fire station EMT. Plaintiffs blood pressure was

172/133 and his blood sugar had risen to 596 mg/cll.

       62.     After three hours of minimal treatment, Defendant Cobb informed

Plaintiffthat he needed to be hospitalized for further treatment Defendant Cobb spoke to

Defendant Fagan about admitting Plaintiff.

       63.     Defendants Cobb and Fagan subsequently declined to admit Plaintiff

because he was "not registered in the VA medical system and does not have a primary

care physician"to approve further treatment or admittance to a hospital ward.

       64.     Contrary to medical records, Plaintiff has been enrolled in the VA

healthcare program since July 1, 2013. Plaintiff's enrollment was automatically done

because of his being on a non-service related veteran's pension. Plaintiffs pension is

based upon his degenerative disc disease, and seventeen years of incarceration, which

procedurally bared him from receiving Social Security disability benefits.

       65.     Plaintiff declares that Defendants Cobb and Fagan completely ignored his

agreement with the hospital administration to pay for the emergency room treatment

       66.     After being denied proper treatment for his newly diagnosed hypertension

and hyperglycemia conditions, Plaintiff was released from the emergency room with a

prescription for 20 mg oflisinopril, 500 mg metformin,and 50 mg ofjanuvia.

       67.     Plaintiff's blood sugar was 286 mg/dI at the time of his release. This was

two to three times what it should have been since Plaintiff had not eaten for nearly 6

hours at the time of his release.

       68.     Plaintiff was directed to have follow-up treatment with Defendant Fagan.

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Defendant Fagan does not accept veterans as patients unless they can pay for his services

out oftheir own pockets.

       69.       Plaintiff believes that Defendants Cobb and Fagan deliberately dumped

him in the sfreet without adequate medical treatment in hope that Defendant Fagan would

profit from Plaintiffs uncontrolled diabetic condition. Plaintiff further believes that he

would never have been dumped in the street if he had Medicaid, Medicare, or private

insurance.

       70.       Plaintiff declares that his right under the Emergency Medical Treatment

and Active Labor Act of 1986 was violated when Defendants Cobb and Fagan denied him

self-stabilizing treatment before dumping him in the street

       71.       Plaintiff declares further that Defendants Andrus, Lynd, Fagan, Camellia,

Doe(2), and Cobb are all responsible for him being denied admitted to the EAMC and to

receive proper medical treatment. As a result, Plaintiff's glucose level rose to more than

1200 mg/dl causing him to suffer physical, mental, and emotional, pain and suffering. In

addition, Plaintiff suffered minor damage to his eyes, as well as having to be hospitalized

for five days.

       72.       It was discrimination for Defendants Fagan and Cobb to deny Plaintiff

medical treatment because Defendant Camellia declined to approve and pay for his

emergency room treatment.

       73.       Contrary to medical records, Plaintiffs prescription for Januvia was never

filled because it cost nearly $500. Defendants Cobb and Fagan knew that Plaintiff was on

a veteran's pension. Defendants Cobb and Fagan should never have prescribed Plaintiff

with such an expensive drug without first checking to see if he could afford the pay for

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the medication.

       74.     If Defendants Cobb or Fagan bad provided Plaintiff with a vile ofinsulin,

a diabetic test meter, and a few supplies, as was done when he was discharged for the

EAMC in Opelika, Plaintiff would never have been hospitalized for a serious and life-

threatening condition.

       75.     At no time did Plaintiff receive adequate medical treatment while at the

EAMC,in Valley Alabama, especially his primary complaints of frequent urination and

having severe dry mouth. These medical conditions existed for nearly 5 months and could

not be properly treated in just a few short hours.

       76.     It has been medically proven that untreated dry mouth can exacerbate the

side effects of diabetes, which will then lead to an increase in blood sugar level. This

untreated condition, in conjunction with Plaintiff never being properly stabilized in the

first place is why his blood sugar rose so quickly.

       77.     On April 11, 2017, Plaintiff called the CAVHCS in Tuskegee for

instructions on what to do now that he had been released from the EAMC in Valley

Alabama. Plaintiff was told to bring his driver license, DD214, and proof of income to

the veteran's hospital in Tuskegee. It took Plaintiff more than a day to locate a copy of

his DD214 because of his feeling weak and sick.

       78.     On April 13, 2017, Plaintiff drove to the CAVHCS in Tuskegee with the

requested documentation. Plaintiff's glucose level was so high that it was life-threatening

and hazardous for him to drive nearly 50 miles.

       79.     Moreover, Plaintiff's car is extremely dangerous to drive and nothing but a

death trap due to its dilapidated condition. Plaintiff cannot afford to purchase a good

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used car because he barely has enough money to meet his day-to-day living expenses.

          80.   After giving the documents to the admittance clerk, Plaintiff went to the

clinic for treatment.

          81.   Doctor Khalid Ali was assigned as Plaintiff's initial provider.

          82.   Doctor Khalid Ali subsequently transferred Plaintift via ambulance,to the

East Alabama Medical Center in Opelika, Alabama.

          83.   Plaintiff's glucose lever had risen to 1223 mg/dI less than three days of

him being denied admittance to the EAMC in Valley Alabama.

          84.   There are numerous reports and articles that show blood sugar levels

above 600 mg/dI can be extremely dangerous and life-threatening. A diabetic coma can

occur when blood sugar levels rise above 600 mg/cll.

          85.   Plaintiff submits that Defendants Wilkie, Shulkin, Boyle, Andrus, Fagpn,

and Cobb have adopted and continue to enforce an unwritten policy, which convey upon

nurses the authority to deny veterans proper emergency room treatment and subsequent

hospitali7ation.

          86.   It is the official policy of the Veterans Administration that emergency

room treatment be handled through the offices ofNon VA Community Care, not hospital

nurses.

          87.   Although Defendant Doe (2) had the authorization to contact the

CAVHCS for information on Plaintiffs status as a veteran,EAMC did not have the legal

authority to deny him medical treatment based on information obtained from Defendant

Camellia.

          88.   Plaintiff declares that Defendants Camellia,Fagan,Cobb and Doe(2)were

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all instrumental in causing him to be put into a dangerous and very serious life-

threatening situation. Nevertheless, Plaintiff's close encounter with death was ultimately

caused because Defendants Shulkin, Boyle, and Andrus failed to supervise staff properly

under their authority.

       89.     Defendants Cobb, Fagan, Camellia, and Doe (2) are reprehensibly

blameworthy for causing plaintiffs blood sugar to rise to such a point that it put him into

a deadly situation. These Defendants had no justifiable reason to deny or interfere with

Plaintiff being admitted to the EAMC and to receive proper medical treatment, especially

where Plaintiff had a contract with the hospital to pay for the ireatment of his

hyperglycemia and hypertension conditions.

       90.     The EAMC in Opelika received payment of $5682.48 for Plaintiff's five

days of hospitalization. It is interesting that the EAMC in Opelika financially benefited

from the EAMC in Valley dumping Plaintiff in the street. It was the EAMC in Valley

Alabama who caused Plaintiffto be hospitalized in the first place. This is especially true

where Plaintiff's emergency room treatment in Valley and his inpatient stay in Opelika

were provided for in facilities under the direct supervision and management ofDefendant

Andrus.

       91.     Plaintiff submits that it was misappropriation offederal funding to pay the

EAMC nearly six thousand dollars for violating federal laws.

       92.     On April 13,2017,Plaintiff was admitted to the EAMC in Opelika.

       93.     Thereafter, Plaintiff received a bill for his emergency room treatment at

EAMC,in Valley Alabama. The bill demanded full payment of$1,009.92 and was dated

April 21,2017.

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       94.     Plaintiff ignored the hospital bill because he did not receive adequate

medical treatment,and he believed the bill had been sent to the CAVHCS in Tuskegee.

       95.     Significantly, Plaintiffs house, which he purchased on March 30,2012,as

a fixer upper, for $6000 is in need of repairs. It has no air conditioning, no heat, and

almost no furniture. Plaintiff would have to stop all renovations on his house for three to

four months to pay the hospital bill in full.

       96.     Plaintiff alleges that Defendants have all caused him to suffer financial

hardships that will eventually force him into a life of crime to survive. Plaintiff cannot

afford the services ofa private doctor or the cost for his diabetic and other medications.

       97.     Plaintiff has no other places to cut expenses. Plaintiff does not stnoke

cigarettes, he does not take illegal drugs, he does not drink alcohol, he does not gamble,

including lottery tickets, he does not eat out, he does not hire prostitutes, and he does not

squander his money foolishly. Plaintiff puts every spare penny from his small veteran's

pension into making his house livable.

       98.     On May 5, 2017, Plaintiff made a special trip to the veteran's hospital in

Tuskegee, via the free shuttle bus from Valley Alabama. The reason for the trip was to

obtain information regarding the status of his outstanding hospital bill. Plaintiffspoke to

John Doe in the business office

       99.     According to John Doe, the hospital bill in question was still under

consideration. John Doe deliberately lied to Plaintifffor unknown reasons.

        100.   Upon returning home, Plaintiff called the EAMC in Valley Alabama, and

was told that Defendant Camellia had denied the hospital's request for payment. The

grounds for the denial were listed as Plaintiff having no authorization for his ER visit and

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had not seen a VA doctor during the previous 24 months.

        101.   In a letter, dated May 8,2017,Plaintiff wrote to the CAVHCS in Tuskegee

for the necessary paperwork and procedure to follow for an appeal. Plaintiff received no

response to his letter.

        102.    Around May 23, 2017, Plaintiff received another bill from the EAMC

demanding full payment. The bill was dated 5/21/17.

        103.    On May 31,2017,Plaintiff sent a FOIL request to the CAVHCS to obtain

a copy of the official denial stating the grounds, which the VA relied upon to deny paying

the hospital bill. Once apin,Plaintiffreceived no response to his letter.

        104.    On June 7, 2017, Plaintiff received his first doctor's visit for follow up

treatment since being released from the EAMC in Opelika on April 17, 2017. Defendant

Uwagerikpe was assigned as Plaintiffs primary care provider. Plaintiffs second visit

was not until November 20,2017.

        105.    Plaintiffsubmits that it was unjustifiable for him to wait nearly six months

between visits and nearly two months for follow up treatment of his newly diagnosed

diabetic condition.

        106.    According to Defendant Uwagerikpe, the CAVHCS in Tuskegee employs

only two full-time primary care doctors and this is why Plaintiff cannot get reasonable

primary care doctor's appointments.

        107.   Plaintiff declares that the gross understaffing of primary care physicians at

the CAVHCS in Tuskegee has denied him access to proper medical care and treatment.

Two full-time physicians for thousands of veterans each month constitutes gross

negligent medical treatment.

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       108.    It is estimated that around 400,000 veterans live in the State of Alabama

out ofthe 23 million veterans currently living in the United States.

       109.    If the CAVHCS in Tuskegee were not so grossly understaffed with

primary care doctors, Plaintiff would not have suffered back and neck pains for nearly

two months,and being unable to see the markings on the syringe to take his insulin shots.

       110.    During his initial primary care doctor's visit, Plaintiffs chief complaint

was the excruciating pain in his neck and back that was interfering with his daily lifestyle.

       111.    Defendant Uwagerikpe told Plaintiff that he would take a picture of his

back. Plaintiff never received that MRI to determine why he is in so much pain.

       112.    Plaintiff admits that he has a preexisting back and neck problem that has

resulted in him taking over the counter painkillers for nearly 10 years. However, this

does not excuse Defendant Uwagerikpe from performing his duty to schedule an MRI to

see ifanything can be done to stop Plaintiffs reoccurring neck and back pain.

       113.    After complaining about his need to see an eye doctor, Plaintiff went to

see Defendant Lewis regarding his unpaid hospital bill. Plaintiff showed Defendant

Lewis his FOIL request, dated May 31, 2017. Attached to the FOIL request were two

hospital bills from EAMC,dated 4/21/17 and 5/21/17. Defendant Lewis made copies of

Plaintiffs FOIL request,and the attached exhibits.

       114.    On June 7, 2017, Defendant Lewis called the EAMC in Valley Alabama,

which she put on speakerphone for Plaintiff to hear. According to an EAMC business

office employee,Defendant Camellia had denied the hospital's request for payment.

       115.    Defendant Lewis told the business office clerk to send the unpaid hospital

bill to the CAVHCS in Tuskegee. Thereafter, Defendant Lewis sent the FOIL request to

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Defendant Hicks, along with the two attached hospital bills.

       116.    On June 30,2017, Plaintiff bad an appoinunent at the Tuskegee eye clinic.

Plaintiff was given new glasses, which now included bifocals. Plaintiff did not wear

bifocals prior to his blood sugar rising to more than 1200 mg/d1.

       117.    On July 20,2017,the EAMC sent Plaintiffanother demand for payment of

his hospital bill. The notice stated,"unless full payment is received within 30 days, your

account will be forwarded to a collection agency."

       118.    On July 25, 2017, Plaintiff called Defendant Hicks regarding his unpaid

hospital bill. According to Defendant Hicks, the Veterans Administration did receive a

bill for $1544.22 from the EAMC in Valley Alabama. Her records indicated that the

hospital bill had been returned with a request that it be resubmitted with a copy of the

medical records.

       119.    Plaintiff submits that the CAVHCS in Tuskegee had all the relevant

information pertaining to his emergence room treatment at EAMC in Valley from his

inpatient stay at EAMC in Opelika.

       120.    Defendant Hicks then informed Plaintiffthat his claim had been sent to the

Birmingham VA Medical Center.

       121.    Plaintiff submits that the repeated transferring of his claim was done for

retaliation and to interfere with him exbausting his administrative appeals in time to

prevent his unpaid hospital bill being sent to a collection agency.

       122.    Plaintiff declares that the court should make Defendants Wilkie, Shulkin,

and Boyle solely responsible for the reparations due from the EAMC, because of their

continued neglect over the past several years to supervise staff properly under their

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authority. As a result of their negligence, the CAVHCS has become a cesspool of filth,

debauchery, and corruption, which led to the EAMC unlawfully dumping Plaintiff in the

street without proper medical treatment.

          123.   On July 28,2017,Plaintiff sent a letter to Defendant Andrus regarding the

inadequate medical treatment he received while at EAMC in Valley Alabama.

          124.   Plaintiff forwarded a copy ofthe letter to Defendants Fagan, Lewis,Hicks,

Birmingham business office personnel, and the EAMC business office personnel.

          125.   Defendant Lynd investigated Plaintiffs complaint

          126.   Defendant Lynd failed to perform her lawful duty to report violations of

hospital rules and regulations, and just covered up Plaintiff being illegally dumped in the

street.

          127.   In a letter, dated August 9, 2017, Kimberly S. McMakin, business office

manager for EAMC informed Plaintiff that the Veterans Administration had denied their

request for payment ofhis emergency room visit. The letter stated,

                 "The Medical Director of Emergency Physicians has review both
                 your Emergency Room visit and your inpatient stay and
                 determined that the care provided was medically appropriate.
                 Veterans Administration was billed for both visits. However,the
                 ER visit on 04/13/17 (sic) was denied as non-authorized by
                 Veterans Administration."

          128.   The denial was based solely upon the phone conversation between

Defendants Doe(2)and Camellia, and not the official decision of Defendant Bland

          129.   Thereafter, Plaintiff wrote to Legal Services of Alabama and the Legal Aid

Society of Birmingham for assistance to compel the CAVHCS in Tuskegee to send him a

copy oftheir official denial and the necessary paperwork to file an appeal.


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       130.   It is Plaintiffs position that he received an official decision only because

the Legal Aid Society of Birmingham and Legal Services of Alabama had intervened to

assist him.

       131.   Plaintiff submits that Defendants have all caused him to suffer emotional,

mental, and financial hardships, which ultimately forced him to stop receiving his

diabetic medication. This prescription requires Plaintiff to make co-payments.

       132.   On or about September 8, 2017, ahnost five months after the initial denial

of Defendant Camellia, Plaintiff received an official decision from Defendant Bland. The

denial was dated August 28,2017, and stated,"Claim Denied - At the time the emergency

treatment was provided, Veteran had not received VA treatment within the past 24

months prior to the emergency treatment. 38 CFR 17.1002(d)."

       133.   On September 12, 2017, Plaintiff called the Birmingham VA Medical

Center and spoke to Anita Doe,a business office employee.

       134.   According to Anita Doe, Defendant Doe (1) made the denial, which was

then sent to Defendant Bland for a signature and mailing. Plaintiff advances that it is a

violation of lawful procedures to have clerks and nurses deny claims for payment of

emergency room treatments.

       135.   Plaintiff advances further that no avenues exist to consider hardship cases

on an individual basis, such as Plaintiff, and no safe guards to protect veterans on low

incomes. Otherwise, nurses and clerks would not be allowed to deny arbitrarily payments

for emergency room visits.

       136.   On or about October 16, 2017, Plaintiff received another denial from

Defendant Bland allegedly for a doctor's bill from the EAMC in Valley Alabama. The

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hospital bill was allegedly for $292.00 and the denial was dated September 22,2017. The

grounds for the denial were the same as the grounds listed in Defendant Bland's denial of

Plaintiffs emergency room visit.

       137.    Thereafter, the EAMC in Valley Alabama sent Plaintiff another bill, dated

October 26,2017 demanding full payment of $1,009.92.

       138.    On November 5, 2017,.Plaintiff filed a joint administrative appeal with the

CAVHCS in Tuskegee regarding the denials from Defendant Bland, and various

constitutional and federal law violations.

       139.    After waiting nearly two months for a decision, Plaintiff sent Defendant

Lewis an email to inquire about the status of his appeal. Defendant Lewis responded with

a one-word email which stated "Approved." The email was dated January 16, 2018.

       140.    Plaintiff never received a financial statement showing that the hospital bill

for his emergency room visit was in fact paid and no statement denying any portion of his

administrative appeal.

       141.    Plaintiff waited several more months for an official decision in connection

with his administrative appeal. At no time did Plaintiff receive a formal decision, and no

paperwork to effect any further appeals in connection with his alleged constitutional and

federal law violations.

       142.    Defendants Lewis, Hicks and Bland were mandated by departmental

policy to start automatically an appeal regarding any unresolved issues in Plaintiff's

administrative brief.

       143.    On November 20, 2017, Plaintiff instructed Defendant Uwagerikpe to

suspend all medications imposing a co-payment to save money during his legal battles

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with the EAMC,a collection agency, and the CAVHCS in Tuskegee. This was not only

beneficial for Plaintiff, while fighting these battles, but it was also financially beneficial

for the VA because it saved the government nearly ten thousand dollars for the cost ofsix

months ofinsulin.

        144.   At the time, Plaintiff had enough insulin and high blood pressure

medication to last until his primary care doctor's appointment on June 18, 2018. Instead

of being thankful that Plaintiff saved the government money, Defendants Wilkie, Marsh,

Weaver, Uwagerikpe, Boyle, and her entire leadership team, who are now defendants in

this case, refused to assist Plaintiff in being put back on his medication.

        145.   Defendants Wilkie, Uwagerikpe, Boyle, as well as her entire leadership

team were fully aware that Plaintiff needs six vials of insulin each month to maintain his

diabetic condition. Plaintiff needs to take 129 units of insulin each day to maintain

proper blood sugar levels.

        146.   All members of the CAVHCS leadership team are herein designated as

Defendants Doe (6-10). Defendants are individually named below and will appear at the

top in Plaintiffs amended civil complaint.

        147.   On November 16, 2017, Plaintiff received notification from Holloway

Credit Solutions, LLC informing him that the EAMC had referred his unpaid hospital bill

to them for collection.

        148.   Plaintiff submits that the EAMC had other options than to send his

hospital bill to a collection agency, such as the Hill Barton Fund. Plaintiffs gross income

was only $12,900 per year. Furthermore, Defendant Andrus knew that Plaintiff was

appealing the denial of Defendant Camellia and he could have very easily waited until a

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determination had been made on that appeal. Instead of waiting for a final decision on

Plaintiff's appeal, Defendant Andrus authorized his staff to send the hospital bill to a

collection agency for retaliation and to inflict further financial, mental and emotional pain

and suffering on him.

       149.    On or about June 13, 2018, Plaintiff discovered that the free shuttle bus in

Valley Alabama was no longer making runs on Mondays to the CAVHCS in Tuskegee.

       150.    On June 14, 2018, Plaintiff had to cancel his June 18, 2018, primary care

doctor's appointment because he had no dependable means of transportation to make the

100 mile round trip.

       151.    Thereafter, Plaintiff received a letter, dated June 18, 2018, from the

CAVHCS in Tuskegee regarding his missed primary care doctor's appointment. A copy

ofthat letter was sent to Defendant Weaver.

       152.    On June 22, 2018, Plaintiff sent a letter to Defendant Weaver explaining

why he had to cancel his primary care doctor's appointment. Plaintiff also stressed his

need for an MRI because painkiller were not helping, and a financial statement showing

that his emergency room bill was paid so that he could be put back on his diabetic and

other medications.

       153.    A copy of the letter was forwarded to Defendant Marsh. Defendants

Marsh and Weaver both declined to respond or to act on Plaintiffs letter.

       154.    Plaintiff declares that he is eligible to participate in Non VA Community

Care Programs, such as Tricare and the Choice Program, but Defendants Wilkie, Boyle,

Uwagerikpe, Lewis, Hicks, Bland, and Does(6-10) declined to assist him with placement

in either of these federally funded programs.

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        155.    In refusing to provide Plaintiff with his life sustaining diabetic and high

blood pressure medications, or to assist him in obtaining privatized healthcare through

Tricare or the Choice Program, Defendants Uwagerikpe, Lewis, Hicks, Bland, and Does

(6-10) have become co-conspirators with Defendants Wilkie and Boyle in their attempt to

kill Plaintiff or force him into a life of crime to obtain his high blood pressure and

diabetic medications.

        156.    Collusion to comniit murder just to stop Plaintiff from petitioning the

government to close down the CAVHCS East Carnpus is not only retaliatory in nature,

but it is also a capital crime.

        157.    Plaintiff served in the military during the Vietnam War (1968-1971).

After being honorably discharged from the Marine Corps, the United States Government

bestowed upon him the right to receive lifetime medical treatment. Subsequent laws

convey upon Plaintiff the right to be placed under the care of a private doctor and to be

treated in a non VA medical facility if he lives more than 40 miles from the nearest VA

hospital, or cannot receive a primary care doctor's appointment in a reasonable time

period. Plaintiff lives ahnost 50 miles from the nearest VA hospital and he has never

been given a reasonable primary care doctor's appointment.

        158.    Plaintiff submits that the enforcement of any Congressional Law that

compels disabled veterans to pay for emergency room treatment for not seeing a veteran's

doctor within two years is unconstitutional and grounds for a class action suit. Moreover,

any law enacted by Congress that impedes, restricts, diminishes, subverts or abridges a

veteran's guaranteed right to receive medical treatment without cost is illegal and non-

enforceable.

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       159.   Plaintiff takes the firm stance that it is discrimination to compel disabled

veterans to pay doctor and emergency room bills because they do not live next to a

veteran's hospital where they can go to receive emergency room treatment free of charge.

This unconstitutional law needs to be eradicated before a veteran ends up dead, or the

Department of Veterans Affairs needs to start maintaining veteran hospitals in every state

within 40 miles of each other. Veterans who live more than 40 miles from a veteran's

hospital are legally entitled to privatized healthcare, under prevailing laws.

Unfortunately, the VA has circumvented these laws by refusing to pay private doctors for

their services. This has caused a tremendous shortage of private doctors who will take

VA patients and is why staff at the CAVHCS has repeatedly failed to act upon Plaintiffs

statements about living more than 40 miles from the nearest veteran's hospital.

       160.    On July 25, 2018, Plaintiff wrote letters to the United States Board of

Veterans Appeals, Robert Wilkie, Secretary of Department of Veterans Affairs, and

Donald Trump, President ofthe United States of America. The purpose ofthe letters was

to force Defendant Boyle into giving Plaintiff an appeal so that he could exhaust his

constitutional and fedeml law violations.

       161.    On September 7, 2018 at 9:45 AM, Plaintiff received a phone call from

Ramon Holloway, who railed on him for filing complaints with the government.

According to Mr. Holloway, it was Plaintiffs fault that no action was taken on his letters

because he did not supply the claim numbers. As Plaintiff was looking for the claim

numbers, Mr. Holloway and Plaintiff argued over his statement that he needed the claim

numbers to fmd his appeal. The claim numbers were clearly stated on the email Plaintiff

sent to Defendant Lewis, and that email was referenced in the letter to Defendant Weaver.

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In addition, the CAVHCS has Plaintiffs mailing address and phone numbers making it

very easy to locate any information on him with a computer search. Thereafter, Mr.

Holloway hung up before Plaintiff had found the claim numbers.

       162.    On or about September 15, 2018, Plaintiff received a letter from the

Wisconsin Evidence Intake Center, dated September 10, 2018. It stated that the

Wisconsin Evidence Intake Center had received Plaintiffs request to appeal the denial on

his August 14, 2018 disability compensation claim. A copy of the letter was sent to the

New York State Department of Veterans Affairs. Plaintiff has not lived in New York for

ten years and he never requested anyone to appeal a disability compensation claim to the

Wisconsin Evidence Intake Center or any other agency within the Department of Veterans

Affairs. In fact, Plaintiffs administrative briefs make no mention whatsoever of a

disability compensation claim, or a request to increase his existing veteran's pension.

       163.    Defendant Doe (3) deliberately fabricated an appeal for a non existing

disability compensation claim to delay Plaintiff further in accessing the court, and to

terminate his existing veteran's pension for retaliation.

       164.    In a letter, dated September 19, 2018, Plaintiff notified Defendants Doe(4)

and Doe (5) that his administrative appeal had nothing to do with a disability

compensation claim. Attached to the Plaintiffs letter was VA Form 21-098, which

Defendant Doe(5)requested that he fill out, and return to Doe(4).

       165.    Thereafter, Plaintiff sent a letter to Defendants Doe (4) and Doe (5)

notifying them that this was his final attempt to administratively exhaust the statutory and

constitutional violations in his original brief. The letter was dated September 30, 2018,

and a 42-page civil complaint draft was attached as an addendum to Plaintiffs November

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5,2017 administrative appeal.

       166.    In a letter, dated October 4, 2018, Defendant Doe (4) informed Plaintiff

that his appeal would not be processed because it was incomplete and did not identify the

specific nature of the disagreement. Attached to the letter was the paperwork Plaintiff

sent to the Wisconsin Evidence Intake Center on September 19, 2018, minus the six

attached pages specifying the nature of his disagreement. A copy of the letter was again

sent to the New York State Department of Veterans Affairs.

       167.    Although Plaintiff repeatedly requested a copy of the denial notification,

dated August 14, 2018, no such document was ever sent to him. Without the denial

notification, there would be no way for Plaintiff to reference any specific portion of it.

       168.    On October 18, 2018, Plaintiff sent a formal complaint to Defendants Doe

(4) and Doe (5) thoroughly explaining the background to his fabricated disability

compensation appeal. The complaint also served as an addendum to the addendum sent

on September 30, 2018. The 4-page complaint with exhibits contained 43 pages total. A

copy of the material was forwarded to Defendant Wilkie and the Secretary of the

Wisconsin Department of Veterans Affairs.

       169.    On November 11, 2018, Plaintiff sent a letter to Defendant Marsh

declaring a political war on the CAVHCS for denying him treatment and medications.

This war will eventually include internet and media coverage and will most likely

continue for the rest of Plaintiffs life. A copy of the 4-page letter with exhibits totaling

27 pages was also sent to Governor Key Ivey, and Defendant Wilkie.

       170.    Thereafter, Plaintiff discovered that staff at the CAVHCS had lied to him

again. This time an unknown employee deceived Plaintiff into believing that Defendant

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Marsh was the director ofthe CAVHCS in Tuskegee.

        171.   In a letter, dated November 14, 2018, Governor Ivey forwarded Plaintiff's

letter to Acting Commissioner Northcutt for action. Acting Commissioner Northcutt

subsequently informed Plaintiff that the CAVHCS was under the purview of the United

States Department of Veterans Affairs not the Alabama Department of Veterans Affairs.

        172.    On November 15, 2018, Acting Commissioner Northcutt forwarded the

letter sent to Defendant Marsh along with its attachments to Defendant I3oyle for action.

        173.    Plaintiff waited 45 days to see if Defendants Wilkie or Boyle were going

to refer his letter to staff who could assist him in being put back on his medications,

schedule an MRI, and assist him with placement in the Choice Program, or some other

community based federal program. Plaintiff received no response and no action resulted

from his formal complaint.

        174.    The ongoing retaliatory actions of staff within the Department of Veterans

Affairs have escalated to the point of being criniinal in nature.        Plaintiff expects

Defendants employed with the Department of Veterans Affairs to oppose his political war

to close down the East Campus of the CAVHCS, but to destroy his health through a

denial of medication is inexcusable. Plaintiff is legally entitled to receive medical

treatment and medication from the CAVHCS,or through privatized healthcare.

        175.   Plaintiff has been struggling with high blood pressure and high blood

sugar levels since he missed his prirnary care doctor's appointment back in June 2018.

Plaintiff struggled with these two health related problems for nearly five months two

years ago and it nearly caused his demise. Now Defendants Wilkie and Boyle are

intentionally trying to achieve that result.

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        176.   On January 5, 2019, Plaintiff sent Defendant Boyle a letter with 140 pages

of exhibits. In that letter, Plaintiff again stressed his disapproval ofthe retaliatory actions

of staff employed with the CAVHCS,and her attempt to murder him. A copy ofthe letter

with exhibits was sent to Defendant Wilkie, all 9 Congressional Representatives for the

State of Alabama, Vice President Mike Pence, and Inspector General Michael Missal.

The 4-page letter without exhibits was sent to Defendant Uwagerikpe, and the four

members of the CAVHCS leadership team: Valerie Russell, Deputy Director (Doe 6),

Thomas Huettemann, Associate Director (Doe 7), Robert Norvel, Acting Chief of Staff

(Doe 8), and Carolyn CaverGordon, Associate Director(Doe 9). Janet L. Henderson has

apparently replaced Robert Norvel as Acting Chiefof Staff(Doe 10).

        177.   Plaintiffs letters to the nine Alabama Congressional Representatives and

the VA Inspector General included a request for an investigation of both the state and

federal Department of Veterans Affairs regarding their corruption, abuse of veterans,

mismanagement offederal funding, and their refusal to help a disabled veteran receive his

medications.

        178.   Plaintiff also petitioned the Congressional Representatives to eradicate or

at least modify the 24-month statutory enactment mandating that disabled veterans, under

the exclusive financial and medical care ofthe VA,see a veteran's doctor once every two

years to receive free emergency room treatment.

        179.   Plaintiff received absolutely no response to his Jammry 5,2019 letter from

any of the 18 individuals, except Congressman Robert Aderholt. Congressman Aderholt

declined to consider Plaintiff's request because he did not live in his congressional

district.

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        180.   Plaintiff declares that he will never be allowed treatment through any

CAVHCS because of his numerous complaints and pending civil action. Plaintiff also

declares that Defendants at the CAVHCS consider him a Whistle Blower and this is why

they refuse to answer his letters or to assist him in any way. Defendants silence over the

past two years is a form of retaliation, and clearly shows their callous indifference toward

Plaintiffs medical needs.

        181.   In a letter, dated February 13, 2019, Timothy Miller, Acting Director of

Congressional Correspondence(Doe 11), stated:

           "Our Office of Community Care(OCC)reviewed the claims from East
           Alabama Medical Center and EAMC ER Physicians for medical
           services provided to you on April 10, 2017, and denied them under the
           Veterans Millennium Healthcare and Benefits Act (Title 38 United
           States Code § 1725) because you did not receive care at a VA medical
           facility within the preceding 24 months....00C conducted a second
           review and upheld the original denial?"

Plaintiff submits that Defendant Doe (11) acted in a retaliatory manner where he

confirmed the denials of Defendant Bland after his administrative brief had already been

approved at the facility level.

        182.   At no time did Plaintiff receive any notification that Jacquelynn Lewis,

Sharon Hicks or Cynthia Bland had requested a review of their approval of his

administrative brief, nor did he receive any decision regarding that alleged second review.

Instead of conducting a proper investigation of Plaintiff's administrative appeals

Defendant Doe (11) simply upheld an illegal hearing to overturn the approval of

Plaintiffis administrative brief.

        183.   Plaintiff submits that Defendant Doe (11) has suppressed his First

Amendment right by illegally upholding the denials of Defendant Bland. Plaintiff

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submits further that the investigations conducted by the Office of Non VA Community

Care, and Defendant Doe (11) constituted an appeal, which fully exhausted Plaintiff's

original brief, and his two subsequent addendums. Plaintiffs administrative brief, dated

November 5, 2017, clearly stated on the cover page that his appeal was for statutory and

constitutional violations, not just a denial to pay for his hospital bills at the EAMC in

Valley AL.

       184.     Plaintiff submits that it was a violation of his rights to due process of law,

as defined under the Fifth and Fourteenth Amendments to the United States Constitution,

for Defendant Doe (11) to conduct an investigation and then overturn the year old

approval of his administrative appeal. Plaintiff's administrative appeal was handled

through the offices of Defendants Lewis, Hicks and Bland at the CAVHCS and any

appeals from their decision were to be done through the Board of Veteran Appeals in

Washington DC,not some Office of Community Care in Denver, CO.

       185.     Plaintiff submits that the attempt of Defendant Doe(11)to compel him to

pay for his April 10, 2017 emergency room treatment, as mandated under Titles 38 CFR

§ 17.1002(d), and 38 U.S.C. § 1725(b)(2)(B), is time barred and non enforceable as a

matter oflaw.

       186.     On February 25, 2019, Plaintiff sent letters to all Congressional

Representatives in the States of AK, AR, AZ, and CA requesting they modify their

unconstitutional enactment mandating the disabled veterans see a veteran's doctor once

every two years. Plaintiff has yet to receive a response to any of his 75 plus letters.

       187.     On February 25,2019, Kevin Bell from the Montgomery VA Office called

Plaintiff and agreed to have Jacquelynn Lewis send him a statement declaring that his

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emergency room bill has in fact been paid in full. In addition, Kevin Bell agreed to help

Plaintiff with transportation to see Joseph Hurst, his new primary care doctor in

Tuskegee, and to arrange for him to be put under the care of a local doctor. Kevin Bell

has yet to fulfill his promise, even though he knows that Plaintiff has been denied his life

sustoining diabetic and high blood pressure mediations for more than eight months now at

the expense of his health.



Causes of Action


VI.     First Cause of Action


        188.    Plaintiff files this first cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388(1971), and alleges and incorporates paragraphs 1 through 187, as iffully set

forth herein as the first cause of action.

        189.    Plaintiff alleges that Defendants Wilkie, Skulldn, and Boyle have all

causes the CAVHCS to become a place of retaliation, abuse, and corruption because of

their failure to train and properly supervise staff under their authority.

        190.    Defendants Wilkie and Shulkin were both direct supervisors of Defendant

Boyle, also knows as the Queen ofthe Central Alabama Veterans Hit Squad(CAVHS).

        191.   In refusing to properly supervise Defendant Boyle, Defendants Wilkie and

Shulkin not only covered up her corrupting the CAVHCS, but they are also encouraging

staff under her control to carry out acts of retaliation against anyone who is a whistle

blower or is attempting to petition the government for redress of grievances.

        192.   In failing to train and properly supervise staff under her authority,

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Defendant Boyle has relegated Plaintiff to a life of pain and suffering from the callous

indifference that Defendants Uwagerikpe, Camellia, Lewis, Hicks, Weaver and Bland

have demonstrated toward his medical needs.

        193.    The refusal of Defendants Wilkie, Boyle Uwagerikpe, Lewis, Hicks,

Weaver and Bland to assist Plaintiff with his medical needs through the CAVHCS or

through privatized healthcare will eventually cause extensive damage to his internal

organs and possibility even his death.

        194.    In denying Plaintiff his insulin and high blood pressure medications for an

extended period of time, Defendants will eventually cause him to suffer a heart attack or

stroke, especially now that he is in his late sixties.

        195.    Plaintiff alleges that Defendants Wilkie, Shulkin, Boyle Uwagerikpe,

Lewis, Hicks, Weaver, Bland and Doe (6-10) have all violated state and federal criminal

laws prohibiting the crime of attempted murder, as well as the Equal Protection Clause

contained in the Fourteenth Amendment to the United States Constitution.

        196.    Plaintiff declares that Defendants believe they are so far above the law

they can even commit murder, without any fear of criminal charges being filed against

them or sanctioning being imposed by our justice system. Accordingly, the CAVHCS in

Tuskegee needs to be closed down before someone ends up dead, mainly Plaintiff!



VII.    Second Cause of Action


        197.    Plaintiff files this second cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388(1971), and alleges and incorporates paragraphs 1 through 196, as iffully set



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forth herein as the second cause of action.

       198.    Plaintiff alleges that Defendants Wilkie, Boyle, Marsh, Andrus, Fagan,

Cobb, Weaver, Uwagerikpe Camellia, Lewis, Hicks, Bland, Doe (1), and Doe(2)have all

inflicted cruel and unusual punishment of him, in violation of his Eighth Amendment

Constitutional Right.

       199.    Although cruel and unusual punishment is traditionally applied to medical

cases involving prisoners, it does extent to the private sector, where as here, Plaintiff is

under the exclusive financial and medical care of the Department of Veterans Affairs.

Under these circumstances, Plaintiff has the same right as any pre-trial detainee who has

not yet been convicted ofa crime.

       200.    Defendants Marsh and Weaver initially exposed Plaintiff to cruel and

unusual punishment, where they ignored his letter regarding his need to be put back on

his diabetic and high blood pressure medications and for an MRI to determine the reason

for his excruciating neck and back pains. Defendant Uwagerikpe knew that Plaintiff was

suffering neck and back pain that was interfering with his sleeping and daily routine. Yet,

Defendant Uwagerikpe circumvented his duty to schedule an MRI until the day he was

removed,for unknown reasons, as Plaintiffs primary care doctor.

       201.    Defendants Fagan, Cobb, Camellia, and Doe (2) violated his Eighth

Amendment constitutional right, where they caused him to be dumped in the street, nearly

resulting in his death. Plaintiff attests that it was cruel and unusual punishment for

Defendants Fagan, and Cobb to throw him in the street without self-stabilizing treatment

or medication because Defendants Camellia, and Doe (2) had agreed that he had no

authorization for his emergency room visit. Defendants Fagan, Cobb, Camellia and Doe

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(2) knew that Plaintiff did not need the approval of the VA to receive emergency room

treatment or admittance to a hospital ward.

       202.    Defendants Wilkie, and Boyle, have exposed Plaintiff to a long and

painful existence from their refusal to assist him with medical treatment and medications.

Plaintiff has vehemently insisted that Defendants Wilkie and Boyle schedule him for an

MRI to alleviate his ongoing neck and back pain and to assist him in being put back on

his diabetic and other medications.

       203.    As seen by a reading of the record, Defendants Wilkie, Shulkin, Boyle

Uwagerikpe, Lewis, Hicks, Weaver and Bland were all instrumental to one degree or

another in trying to murder Plaintiff, or to force him into a life of crime. All Defendants

who read Plaintiff's November 5, 2017 administrative appeal or have a copy ofthat brief

know that he was in prison, which they are trying to achieve once again.

       204.    Plaintiff submits that the denials of Defendants Wilkie, Shulkin, Boyle

Uwagerikpe, Camellia, Lewis, Hicks, Weaver and Bland to provide him medical

treatment and medication constituted cruel and unusual punishment in violation of his

Eighth Amendment Constitutional Right. Plaintiff has been suffering excruciating neck

and back pain for nearly two years and being sick daily from having no medication for the

past eight months. Plaintiff declares that his health will dramatically deteriorate in the

future because of what Defendants are now unlawfully doing to him.

       205.   In the event that Defendants Wilkie, Shulkin, Boyle Uwagerikpe, Lewis,

Hicks, Weaver and Bland do not succeed in murdering Plaintiff, their persistent refusal to

provide him with treatment and mediation will eventually force him into a life of crime.

It is cruel and unusual punishment to destroy Plaintiff's health to coerce him into

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committing crimes to obtain the money to pay for an MRI and his life sustaining

medications.

       206.    It is sad that Defendants Wilkie, Boyle, Marsh, Andrus, Fagan, Cobb,

Weaver, Uwagerikpe Camellia, Lewis, Hicks, Bland, Doe (1), and Doe (2) were only

concemed with receiving a paycheck, rather than performing their legal and lawful duties

to provide treatment and medication to suffering veterans.



VIII. Third Cause of Action


       207.    Plaintiff files this third cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388(1971), and alleges and incorporates paragraphs 1 through 206, as if fully set

forth herein as the third cause of action.

       208.    Plaintiff alleges that Defendants Wilkie, Boyle, Uwagerikpe Lewis, Hicks,

and Bland, have all 'violated his right under the Veterans Access, Choice, Accountability

Act of 2014, and the VA Mission Act of 2018, where they ignored his administrative

appeal and letters stressing his immediate need for assistance in being placed in one of

these federally funded programs.

       209.    The record shows that Plaintiff lives more than 40 miles from the nearest

VA hospital and that he has never received a reasonable primary care doctor's visit.

These two criteria are independent grounds, each qualifying Plaintiff to participate in

Tricare or the Choice Program.

       210.    Defendants Lewis, Hicks, and Bland, all work to one degree or another in

offices, which oversee Non VA Community Care, including the Choice Program, as well



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as being responsible for handling administrative appeals involving community care.

       211.    In addition, Plaintiff sent Defendant Wilkie hundreds of documents,

including a copy of his administrative appeal, dated November 5, 2017, and its two

addendums stressing his need to participate in the Choice Program. In the letter that

accompanied that appeal, dated July 25, 2018, Defendant Wilkie was asked to order

Defendant Boyle to instruct Defendants Lewis, Hicks, or Bland to send Plaintiff an

official decision on his alleged constitutional and federal law violations and the

paperwork to appeal any ofthose issues to the next level.

       212.    Instead of providing Plaintiff with a proper appeal, as mandated under the

law, Defendant Boyle instructed Defendant Doe(3)to fabricate a disability compensation

claim and then send it to Wisconsin Evidence Intake Center.

       213.    In failing to provide Plaintiff with an appeal, except for the one that

Defendants Boyle and Doe (3) fabricated for retaliation, Defendants Wilkie, Boyle,

Lewis, Hicks, and Bland caused him to suffer prolonged physical, mental, and emotional

pain and suffering from having no diabetic and high blood pressure medications.

       214.    Moreover, Defendants Wilkie, Shulkin, and Boyle have all violated

Plaintiff's right to participate in the Choice Prograrn, where they have mismanaged

federal funding to such an extent that Alabama veterans, like Plaintiff, are being

categorically denied access to the Choice Program to save money.

       215.    Rather than to assist Plaintiff with transportation, or to put him under the

care of a private doctor, Defendants simply sidestepped their legal obligations to provide

Plaintiff with medical care and just denied his statutory right to see a doctor or to obtain

his life sustaining prescription medications.

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IX.    Fourth Cause of Action


       216.    Plaintiff files this fourth cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388(1971), and alleges and incorporates paragraphs 1 through 215, as iffully set

forth herein as the fourth cause ofaction.

       217.    Plaintiff alleges that Defendants Wilkie, Shulkin, and Boyle have violated

the Emergency Medical Treattnent and Active Labor Act of 1986, and departmental

policies and procedures by allowing nurses to deny emergency room treatment. In

allowing Defendant Camellia to deny Plaintiff self-stabilizing emergency room treatment

and subsequent hospitalization, Defendants Wilkie Shulkin, and Boyle caused Plaintiff to

suffer physical, mental, and emotional pain and suffering.

       218.    Defendant Camellia had no legal right to interfere with Plaintiff being

hospitalind for his uncontrolled diabetic condition. She should have told Defendant Doe

(2)to stabilize Plaintiff and then send the emergency room bill to the Office of Non VA

Community Care in Tuskegee, AL.

       219.    In failing to follow departmental policies and procedures, Defendants

Wilkie, Shulkin, and Boyle caused the EAMC to deny Plaintiff proper emergency room

treatment. In causing Plaintiff to be dumped in the street, without self-stabilizing

treatment, Defendants Wilkie and Boyle have violated state and federal laws, including

the Emergency Medical Treatment and Active Labor Act of 1986.


X.     Fifth Cause of Action

       220.    Plaintiff files this fifth cause of action pursuant to 42 U.S.C. § 1983 and



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403 US 388(1971), and alleges and incorporates paragraphs 1 through 219, as if fully set

forth herein as the fifth cause of action.

       221.    Plaintiff alleges that Defendants Wilkie, and Boyle have violated his rights

to due process law, as defined under the Fifth and Fourteenth Amendments to the United

States Constitution, where they failed to pay him money damages he won on his

administrative appeal.

       222.     Although this issue may appear silly on its face, it, nevertheless, does have

merit because the courts traditionally follow the approvals rendered on administrative

appeals. In denying this cause of action, both of Plaintiff's subsequent addendums

become actionable because they were submitted within the one year time period.

       223.    On November 5, 2017, Plaintiff filed an administrative appeal regarding

EAMC dumping him in the street and the VA not paying his hospital bills. The appeal

also alleged several other statutory and constitutional violations.

       224.    In an email, dated January 16, 2018, Defendant Lewis informed Plaintiff

of the approval of his administrative appeal. It was the responsibility of Defendants

Lewis, Hicks and Bland to initiate an appeal automatically on any unresolved issues

contained in the brief. No automatic appeals were ever initiated by any employee of the

Department of Veterans Affairs, except for the clandestine appeal perpetrated by

Defendant Doe(11).

       225.    Thereafter, Plaintiff went to great lengths to obtain a statement, as to how

to interpret the word "Approval" in the email. Plaintiff wrote letters to a host of people,

including Defendants Wilkie, Marsh, Boyle,the Board of Veterans Appeals, and even the

President of the United States. Plaintiff wrote those letters to request assistance in

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compelling staff at the CAVHCS to start an appeal on any unresolved issues in his

administrative brief. The President was the only one who tried to help Plaintiff.

       226.    At no time did Defendants Lewis, Hicks, and Bland dispute any facts in

Plaintiffs brief nor did they start an appeal regarding his alleged statutory and

constitutional issues. Under these circumstances, it must be construed that the approval

notice from Defendant Lewis was a concession to the relief sought in the brief, as well as

the requested monetary damages.

       227.    Taking into consideration that Plaintiff received no denial notice on any

portion ofthe brief and no paperwork to appeal for more than six months, as mandated by

departmental policy, Plthntiff is now due millions of dollars in damages.

       228.    Thereafter, Plaintiff submitted two addendums,dated September 30,2018,

and October 18,2018 to his original November 5,2017 appeal.

       229.    Plaintiff declares that he is legally entitled to the money damage specified

in his original administrative appeal, and that Defendants Wilkie and Boyle are violating

his due process constitutional rights by depriving him those monies. Otherwise, Plaintiff

is legally entitled to the damages in his two addendums because no appellate review

conducted by the Office of Community Care or Defendant Doe (11) disputed any

allegation in either of them, except to uphold the unconstitutional mandate that disabled

veterans pay for their own emergency room treatments.



XI.    Sixth Cause of Action


       230.    Plaintiff files this sixth cause of action pursuant to 42 U.S.C. § 1983 and



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403 US 388(1971), and alleges and incorporates paragraphs 1 through 229, as if fully set

forth herein as the sixth cause of action.

       231.    Plaintiff alleges that the callous indifference demonstrated by Defendants

Wilkie, Boyle, Marsh, Weaver, Uwagerikpe Camellia, Lewis, Hicks, Bland, and Doe (1)

toward his medical needs will eventually force him into a life of crime to receive medical

treatment or to just survive.

       232.    Although Plaintiff may be eligible to receive Social Security benefits, his

Social Security check would barely cover the co-payments for his monthly medications.

This would leave Plaintiff with little money to live on since the Veterans Administration

would cut his monthly pension in half, and maybe even terminate it completely. In trying

to force Plaintiff to embark on a life of crime, these Defendants have violated his right to

equal protection of the law and the due process of law clauses contained in the Fifth and

Fourteenth Amendments to the United States Constitution.

       233.    Significantly, Plaintiff already has a big attitude toward society, especially

those in the justice system. Plaintiff lost his business, his children, his health, and the

most productive years of his life, because ofjudicial misconduct and court corruption.

       234.    After being maliciously prosecuted for crimes he did not commit, Plaintiff

was unjustly sentenced to an 81/3 to 25-year term of imprisonment for attempted murder.

As a first time felony offender, Plaintiff served more than 17 years in prison and four

additional years on parole supervision. Plaintiff does not deny that he should have been

convicted for second-degree assault, a 2 1/3 to 7 year term of imprisonment.

Unfortunately, Plaintiff was never charged with this crime nor was he offered any plea

bargain before or during trial.
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       235.     In light of Plaintiffs mindset, Defendants confirming to fuel the fire,

which burned him thirty years ago, may result in consequences that neither Plaintiff nor

society needs or wants. It is only staff within the Department of Veterans Affairs who

desires such an outcome.



XII.    Seventh Cause of Action


        236.    Plaintiff files this seventh cause of action pursuant to 42 U.S.C. § 1983

and 403 US 388(1971), and alleges and incorporates paragraphs 1 through 235, as iffully

set forth herein as the seventh cause of action.

        237.    Plaintiff alleges that Defendants Wilkie, Boyle, Doe (3), Doe (4), and Doe

(5) have all violated his right to court access, as defined under the First Amendment to

the United States Constitution, where they covered up the attempt of Defendant Doe (3)

to strip Plaintiff of his veteran's pension for retaliation.

        238.    On November 5, 2017, Plaintiff filed an administrative appeal with the

CAVHCS in Tuskegee Alabama. Approximately one year later, Defendant Doe (3)

fabricated a disability compensation claim to remove Plaintifffrom his existing veteran's

pension for retaliation, and to impede his right to court access.

        239.    Plaintiff has made numerous requests to various people, including

Defendants Wilkie, Boyle, Doe(4)and Doe(5)for a copy ofthe denial notification, dated

August 14, 2018, and the name of the employee who generated it. At the same time,

Plaintiff requested the names of the Wisconsin Evidence Intake Center Regional Office

Director, and the employee who was assigned to handle the fabricated disability



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compensation claim.

       240.    In denying Plaintiff documentation pertaining to an existing administrative

appeal, and the names of Defendants Doe (3), Doe (4), and Doe (5), Defendants Wilkie,

Boyle, Doe (4)and Doe(5) are forcing him to file an amended civil complaint in federal

court after obtaining this information through discovery. This amounts to nothing less

than harassment and an attempt to obstruct Plaintiffs civil rights suit.

       241.    Plaintiff submits that Defendants Wilkie and Boyle covered up the

retaliatory and criminal actions of Defendant Doe(3)to prevent Defendants Doe (3), Doe

(4)and Doe(5)from being sued under any cause of action.



XIII. Eighth Cause of Action


       242.    Plaintiff files this eighth cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388(1971), and alleges and incorporates paragraphs 1 through 241, as if fully set

forth herein as the eighth cause of action.

       243.    Plaintiff alleges that Defendant Boyle has violated statutory and federal

laws from her continually wasting federal funds. Furthermore, it is a violation of the

Patient Protection and Affordable Care Act and the statutoly law of the Internal Revenue

Service (IRS) for the VA to file false paperwork with the IRS each year declaring that

Plaintiff had medical coverage. Plaintiff has been repeatedly denied his statutory and

constitutional rights to receive medical care, and medication through the CAVHCS.

       244.    Plaintiff alleges that Defendant Boyle has caused a shortage of primary

care physicians from her years of mismanaging federal funding. In creating this shortage,



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veterans, including Plaintiff, are being denied timely access to primary care doctors,

medications, and proper medical care.

       245.    The gross mismanagement of federal funding by Defendant Boyle is now

to such an extent that there is no longer any money available for veterans to participate in

federal programs offered by the Department of Veterans Affairs. Moreover, Defendant

Boyle has violated other federal laws, and governmental regulations, as well as subverting

the goals of the Veterans Administration to provide veterans with proper and adequate

medical care. In simple terms, Defendant Boyle has absolutely no regard for the medical

needs of veterans under her care and no respect for our system oflaws



XIV. Ninth Cause of Action


       246.    Plaintiff files this ninth cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388(1971), and alleges and incorporates paragraphs 1 through 245,as iffully set

forth herein as the ninth cause of action.

       247.    Plaintiff alleges that he will never receive proper medical treatment at any

Central Alabama Veterans HealthCare facility because Defendants Wilkie, Boyle,

Weaver, Uwagerikpe Camellia, Lewis, Hicks, Bland, and Doe (3) consider him to a

whistle blower.

       248.    Although Plaintiff is not an employee of the Central Alabama Veterans

HealthCare System, he, nevertheless, meets the requirement to be protected unckr the

Whistle Blower Protection Act of 1989.                 Plaintiff advances that the Veterans

Administration is an extension to his military service and that being under the sole



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financial and medical care of the Veterans Administration is no different from an

employee ofthe Department of Veterans Affairs who is on a retirement pension.

       249.    Plaintiff alleges further that the Whistle Blower Act of 1989 is

unconstitutional because it discriminates against individuals, like Plaintiff who are under

the financial and medical care of the United States Federal Government, and cannot file

for protection or an investigation under this law.

       250.    As a result of Plaintiff being classified as a whistle blower and having no

agency to address or investigate his being treated as a whistle bower, he is left with no

other recourse but to pursue a political campaign to close down the CAVHCS in

Tuskegee. The only way that Plaintiff will ever be able to obtain proper medical

treatment and medication is through the private sector.

       251.    Plaintiff submits that Defendants have violated his right, under the Whistle

Blower Protection Act of 1989, as well as other federal laws, where they all acted in a

retaliatory manner because he was filing complaints against the CAVHCS with

government officials. These retaliatory actions are shown throughout this complaint

where Defendants have denied Plaintiff medical attention, including an MRI,persisted in

trying to kill him from a denial of medications for months, denied him access to federally

funded programs, subjected him to a harassing phone call, tried to force him into a life of

crime, fabricated a disability compensation claim, ignoring his repeated endeavors to

exhaust his administrative appeal, and the belated attempt to force hiin into paying for his

emergency room treatment.




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XV.    Tenth Cause of Action


       252.    Plaintiff files this tenth cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388 (1971), and alleges and incorporates paragraphs 1 through 251, as iffully set

forth herein as the tenth cause ofaction.

       253.    Plaintiff alleges that the statutory requirements under 38 U.S.C. § 1725

and 38 U.S.C. § 17.10002 (d), mandating that disabled veterans see a veteran's doctor

once every two years is unconstitutional in nature, and violates the Fourteenth

Amendment to the United States Constitution, the Veterans Access, Choice,

Accountability Act of2014, and the VA Mission Act of2018.

       254.    Plaintiff submits that the two campuses of the CAVHCS are

approximately 40 miles apart and located in black communities. The CAVHCS in

Tuskegee was originally built to treat backs only and has the highest percentage of

African Americans in the State of Alabama.            It is racial discrimination for the

Department of Veterans Affairs to maintain two veteran hospitals next to each other,

where black veterans can go for emergency room treatment at no cost, while Whites and

Causations are relegated to seeking emergency room treatment in the private sector at

their own expense.

       255.    It is clear that the CAVHCS now operates as a federal work program for

black communities, and not as a racially diverse staffed hospital to treat suffering and

disabled veterans ofall races.

       256.    Plaintiff declares that veterans, who are solely dependant upon the

Department of Veterans Affairs for their financial and medial care, should be exempt


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from paying any emergence room visit, irrespective of whether or not their emergency

room treatment was for a service related injury. This becomes especially true where staff

at the CAVHCS is using this unconstitutional enactment illegally to incite privatized

healthcare personnel to dump their patients in the street before they receive self-

sustaining emergency room treatment.

       257.    Plaintiff declares further that any Congressional Act, which prevents

suffering veterans from receiving proper medical treatment by overtaxing and burdening

veteran hospitals and healthcare providers with patients, who do not need medical

attention is non enforceable. To mandate that nearly 400,000 Alabama veterans see a

veteran's doctor once every two years has, in part, caused Plaintiff to be denied an MRI,

medication, and medical attention. As a result, Plaintiffs health and life is being slowly

stripped from him in violation of his Fifth, Eighth, and Fourteenth Amendment Rights to

the United States Constitution.

       258.    Furthermore, it is mismanagement of federal funding to pay hospital

personnel to treat veterans, who do not need medical attention, while at the same time

denying disabled veterans reasonable doctor visits to treat their existing medical

conditions. Running a black community federal work program under the guise that it is a

veterans hospital serving all veterans in the State of Alabama is discrimination, as well as

violating state and federal employment laws.

       259.    Finally, this unconstitutional enactment conflicts with other federal laws,

such as the Veterans Access, Choice, Accountability Act of 2014, and the VA Mission

Act of 2018. Veterans in these federal programs do not legally qualify to have the VA

pay for their emergency room treatment because their care comes from a doctor in the

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private sector, and not a veteran's healthcare provider as mandated under the letter of the

law.

       260.    For all the foregoing reasons, Plaintiff should be monetarily compensated

for discrimination and assigned counsel to pursue a class action suit against the United

States Department of Veterans Affairs for enforcing an unconstitutional Congressional

Enactment.



XVI. Eleventh Cause of Action


       261.    Plaintiff files this eleventh cause of action pursuant to 42 U.S.C. § 1983

and 403 US 388(1971), and alleges and incorporates paragraphs 1 through 260, as iffidly

set forth herein as the eleventh cause of action.

       262.    Plaintiff alleges that Defendants Wilkie and Boyle have violated the due

process clauses under the Fifth and Fourteenth Amendments to the United States

Constitution, where they adopted a policy of instructing veterans to go to an emergency

room for treatment and then forcing them to pay for that emergency room visit.

       263.    Plaintiff alleges that the CAVHCS automated medical advisory system

instructing veterans to go to the hospital constitutes authorization for their emergency

room treatment, as if a veteran's doctor had approved it. The CAVHCS practice of

instructing veteran to go to the emergency room for treatment, and then mandating that

they pay for the emergency room visit deprives them of monies in violation of the Fifth

and Fourteenth Amendments to the United States Constitution.

       264.    Plaintiff submits that the CAVHCS policy of authorizing Non VA Medical



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Care and then compelling veterans to pay for that care is further grounds for a class action

suit, not only against the United States Department of Veterans Affairs, but also against

the CAVHCS.



XVII. Twelfth Cause of Action


       265.    Plaintiff files this twelfth cause of action pursuant to 42 U.S.C. § 1983 and

403 US 388(1971), and alleges and incorporates paragraphs 1 through 264, as if fully set

forth herein as the twelfth cause of action.

       266.    Plaintiff alleges that Defendants Lewis, Hicks, Bland,and Doe(1)have all

violated his constitutional right, as defined under the First Amendment to the United

States Constitution, where they failed to provide him with an official decision on his

administrative appeal, and the forms and paperwork to appeal to the next level.

       267     Plaintiff declares that Defendants Lewis, Hicks, and Bland were legally

responsible to appeal automatically any unresolved issues contained in his administrative

brief, or at the very least, provide the name and address of the agency where Plaintiff

could further appeal to exhaust his constitutional and federal law violations.

       268.    In failing to initiate an appeal, or to provide Plaintiff with the necessary

forms and paperwork to pursue an appeal, Defendants have suppressed his First

Amendment Constitutional Right to court access. The clandestine appeals allegedly

conducted without Plaintiff being notified or given the opportunity to submit

documentation are non enforceable




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XVIII Thirteenth Cause of Action


       269.    Plaintiff files this thirteenth cause of action pursuant to 42 U.S.C. § 1983,

and alleges and incorporates paragraphs 1 through 268, as if fully set forth herein as the

thirteenth cause of action.

       270.    Plaintiff alleges that Defendant EAMC has violated the Emergency

Medical Treatment and Active Labor Act of 1986, where it maintains an unwritten policy

ofallowing doctors to dump patients in the street if they have no insurance.

       271.    In following this unwritten policy, the EAMC has caused Plaintiffto suffer

physical, mental and emotional distress, as well as being hospitalized for five days.

Plaintiff submits that the custom and practice of the EAMC dumping patients in the

street, violates the Emergency Medical Treatment and Active Labor Act of 1986, and the

court should impose a $50,000 fine against this state owned and operated acute priraary

care hospital to stress upon staff that the federal court will not tolerate it violating this

federal law.



XIX. Fourteenth Cause of Action


       272.    Plaintiff files this Fourteenth cause of action pursuant to 42 U.S.C. § 1983,

and alleges and incorporates paragraphs 1 through 271, as if fully set forth herein as the

Fourteenth cause of action.

       273.    Plaintiff alleges that Defendants Andrus and Lynd have violated the

Emergency Medical Treatment and Active Labor Act of 1986, where they adopted and

continue to enforce a hospital policy that results in patients being dumped in the street if

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they do not have Medicaid, Medicare, or private health insurance. Patient dumping is a

violation of federal law, under the Emergency Medical Treatment and Active Labor Act

of 1986,and carries a fine up to fifty thousand dollars per violation.

        274.    Plaintiff alleges further that Defendants Andrus and Lynd have violated

the equal protection clause contained in the United States Constitution, where they not

only covered up Plaintiff being dumped in the street, but also violated the State of

Alabama Constitution, which guarantees its citizens the right to the pursuit of happiness,

and is also actionable under the equal Protection Clause contained in the Fourteenth

Amendment to the United States Constitution.

        275.    In claiming that Plaintiff received medically appropriate care, while at the

EAMC in Valley Alabama, Defendants Andrus and Lynd violated his Fifth and

Fourteenth Amendment Due Process Rights under the United States Constitution. The

records show that staff at the EAMC tried on at least four occasions to collect money

from Plaintiff after dumping him in the street. Defendants take lightly the fact that

Plaintiff could have gone into a diabetic coma and possibly died from not being treated to

the point of self-stabilization.

        276.    Plaintiff advances that Defendants Andrus and Lynd deliberately covered

up his nearly dying so they could continue their illegal practice of dumping uninsured

patients in the street, and then making a profit from their criminal activities.

        277      Rather than to correct the seriously flawed custom of Defendant Andrus,

Defendant Lynd simply declared that the medical treatment Plaintiff received while at the

EAMC was medically proper.           If this were true, Plaintiff would not have been

hospitalized three days later with a blood glucose level of 1223 mg/d1.

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XX.    Fifteenth Cause of Action


       278.    Plaintiff files this fifteenth cause of action pursuant to 42 U.S.C. § 1983

and 403 US 388 (1971), and alleges and incorporates paragraphs 1 through 277, as iffully

set forth herein as the fifteenth cause of action.

       279.    Plaintiff alleges that Defendants Cobb, Fagan, Camellia, and Doe(2) have

all violated his right, under the Emergency Medical Treatment and Active Labor Act of

1986, by causing him to be dumped in the street before receiving self-stabilizing

emergency room treatment.

       280.    In failing to follow lawful procedures, Defendant Doe(2)called Defendant

Camellia for approval of Plaintiffs emergency room treatment. Defendant Camellia not

only denied Defendant Doe (2)'s request for payment ofPlaintiffs emergency room visit,

but she also belied the medical record with false information.

       281.    In failing to admit Plaintiff to a hospital ward for at lease one day for

observation and further treatment, Defendants Cobb, and Fagan caused his blood sugar

level to elevate in excess of 1200 mg/dl, requiring five days of hospitalization to stabilize.

In causing Plaintiff to be put into this extremely life-threatening situation, Defendants

Cobb, Fagan, Camellia, and Doe (2) have all caused him to be physically, mentally, and

emotionally distressed, as well as suffering minor damage to his eyesight.

        WHEREFORE, Plaintiff seeks the appointment of counsel, attorney fees,

discovery, class action status, punitive damages, and a permanent injunction ordering

Defendants to stop adopting and enforcing laws, which abridge the rights of veterans.



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Plaintiff further seeks monetary damages in the amount of $150,000 dollars, punitive

damages not less than 15 million dollars, class action damages not less than one billion

dollars, and for such other and further relief as this court deemsjust and proper.

Dated: Lanett, Alabama
      March 19,2019

Plaintiff declares under penalty of perjury that the foregoing is true and correct.

    e9-2,04 Cri-V-2 -
Donald Jones
Plaintiff, Pro Se
414 N 14th Ave
Lanett, AL 36863




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